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                      IN THE UNITED STATES DISTRICT COURT

                   FOR THE SOUTHERN DISTRICT OF GEORGIA

                                 DUBLIN DIVISION

UNITED STATES OF AMERICA                  )
                                          )
              v.                          )     CR 315-013
                                          )
KEVIN McGOWEN                             )
                                      _________

                                      ORDER
                                      _________

       Before the Court are the various pre-trial discovery motions filed by Defendant.

Many (if not all) discovery issues should be addressed in full by the Court’s rulings below

and the liberal discovery policy that the government has confirmed it is applying in this case.

Indeed, Defendant does not allege any specific inadequacies in the discovery provided by the

government to date, and the government states that it has furnished Defendant with the

investigative reports, scientific reports (if any), and other documents which are material to

the case, excepting attorney and agent work product. (Doc. no. 173, p. 1.) All known

statements by Defendant, as well as any criminal record, have also been provided. (Id. at 2.)

       To the extent, if any, either party believes there are specific inadequacies in the

discovery exchanged to date that are not addressed below, the Court directs such party to

confer in good faith with the opposing party and file, if necessary, a discovery motion and

supporting brief within seven days from the date of this Order.
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                      MOTION FOR A BILL OF PARTICULARS

       Defendant is charged with one count of Conspiracy to Distribute and Possess with

Intent to Distribute Controlled Substances, in violation of 21 U.S.C. §§ 841(a)(1) and 846,

and three counts of Use of a Communication Facility in Causing or Facilitating the charged

conspiracy, in violation of 21 U.S.C. § 843(b). Defendant filed this motion seeking from the

government information concerning the exact time, date and place the alleged crimes as set

forth in the indictment occurred; the exact manner in which Defendant is alleged to have

participated in the charged conspiracy; the places at which each overt act on which the

prosecution intends to rely at trial were allegedly performed; the specific nature of the acts

Defendant is alleged to have personally performed; and, the identity of any unindicted co-

conspirators or co-racketeers known to the government. (Doc. no. 103, p. 3.)

       Rule 7(f) of the Federal Rules of Criminal Procedure provides that a defendant may

seek from the Court a bill of particulars setting forth the time, place, manner, and means of

commission of the crime alleged in the indictment. The purpose of the bill of particulars is to

give notice of the offenses charged in the indictment so that a defendant may prepare a

defense, avoid surprise, or raise pleas of double jeopardy when the indictment itself is too

vague for such purposes. United States v. Anderson, 799 F.2d 1438, 1441 (11th Cir. 1986)

(quoting United States v. Cole, 755 F.2d 748, 760 (11th Cir. 1985)). Where necessary, the

bill of particulars supplements the indictment by providing the accused with information

necessary for trial preparation. Id. Generalized discovery is not a proper purpose in seeking

a bill of particulars. United States v. Warren, 772 F.2d 827, 837 (11th Cir. 1985) (quoting

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United States v. Colson, 662 F.2d 1389, 1391 (11th Cir. 1981)). Nor is it a device intended

to secure for the defense the government’s explanation of its theory of the case. United

States v. Hajecate, 683 F.2d 894, 898 (5th Cir. 1982). Absent a showing that a defendant

cannot prepare a defense without the government providing the identity or identities of an

unindicted co-conspirator(s), such information need not be revealed in response to a motion

for a bill of particulars. Warren, 772 F.2d at 837.

       The determination of whether a bill of particulars should be ordered may only be

decided in light of the particular circumstances of each case. United States v. Davis, 582

F.2d 947, 951 (5th Cir. 1987). The question is committed to the sound discretion of the trial

court whose decision will be reversed only where denial of the motion results in surprise to a

defendant at trial resulting in prejudice to his substantial rights. United States v. Hawkins,

661 F.2d 436, 451-52 (5th Cir. Unit B Nov. 1981). The indictment in the case is specific and

supports each of the requisite elements of the charged offenses. In addition, the government

has provided liberal discovery consisting of the investigative reports, scientific reports (if

any), and other documents which are material to the case, excepting attorney and agent work

product. (Doc. no. 173, p. 1.) Because the government appears to have provided all

information essential for trial preparation by the defense, the Court DENIES Defendant’s

motion. (Doc. no. 103.)

                     MOTION FOR PRE-TRIAL JAMES HEARING

       Defendant moves for a pre-trial hearing to determine the admissibility of out-of-court

statements by alleged co-conspirators. To lay the proper foundation for admission of a co-

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conspirator statement pursuant to Federal Rule of Evidence 801(d)(2)(E) and under the

standard enunciated in United States v. James, 590 F.2d 575, 582 (5th Cir. 1978) (en banc),

“the government must establish by a preponderance of the evidence: (1) that a conspiracy

existed, (2) that the defendant and the declarant were members of the conspiracy, and (3) that

the statement was made during the course and in furtherance of the conspiracy.” United

States v. Harrison, 246 F. App’x 640, 651 (11th Cir. 2007). However, as the trial court may

consider both co-conspirator statements and independent external evidence in making a

determination on admissibility, a pre-trial determination under James is not required. United

States v. Magluta, 418 F.3d 1166, 1177-78 (11th Cir. 2005); United States v. Van

Hemelryck, 945 F.2d 1493, 1497-98 (11th Cir. 1991). Thus, the required finding need not be

made pre-trial and can be made at the close of the government’s case in chief. United States

v. Johnson, No. 2:12cr84-MHT, 2012 WL 5392267, at *2 (M.D. Ala. Nov. 5, 2012) (citing

United States v. Sanchez, 722 F.2d 1501, 1507 (11th Cir. 1984)). Indeed, the Supreme Court

has ruled that a trial court may examine hearsay statements prior to admission when making

a preliminary factual determination under Rule 801(d)(2)(E) and further explained, “the

judge should receive the evidence and give it such weight as his judgment and experience

counsel.” Bourjaily v. United States, 483 U.S. 171, 181 (1987) (citation omitted).

       As the need for a James hearing is lessened in light of Bourjaily, and in the interest of

judicial economy, this determination will be made at trial. Therefore, the Court DENIES the

motion for a pre-trial James hearing. (Doc. no. 104.)



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                MOTION TO ALLOW PARTICIPATION IN VOIR DIRE

         The Court GRANTS this motion. (Doc. no. 105.) Unless otherwise directed by the

presiding District Judge, counsel must submit to the Court, not later than seven days prior to

trial, a list of questions which they desire to ask prospective jurors.

        MOTION TO COMPEL DISCLOSURE OF PROMISES OF IMMUNITY

         Defendant moves to compel disclosure by the government of any promises for

immunity, leniency or preferential treatment made to any prosecution witness, informant or

cooperating defendant, including copies of applicable indictments and plea agreements. The

government has agreed to provide this material to the defense pursuant to its continuing

obligation under Brady v. Maryland, 373 U.S. 83 (1963), and Giglio v. United States, 405

U.S. 150 (1972), (doc. no. 173, pp. 2, 5), thereby making this motion MOOT. (Doc. no.

158.)

         SO ORDERED this 25th day of March, 2016, at Augusta, Georgia.




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